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                                       Case No. 22-1856

                      UNITED STATES COURT OF APPEALS
                           FOR THE SIXTH CIRCUIT

                                     ELEANOR CANTER,

                                       Plaintiff -Appellant

                                                v.

                  DISABILITY NETWORK; CITY OF MUSKEGON;
                FRANKLIN PETERSON; KIRK BRIGGS; GARY POST;
                       BRAD HASTINGS; DIANE FLESER,

                                     Defendants-Appellees


                  ON APPEAL FROM THE U.S. DISTRICT COURT
                      WESTERN DISTRICT OF MICHIGAN


                BRIEF ON APPEAL OF DEFENDANTS-APPELLEES
                CITY OF MUSKEGON AND FRANKLIN PETERSON

                      *** ORAL ARGUMENT REQUESTED***




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                                -
Attorneys for Defendants Appellees
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                                     UNITED STATES COURT OF APPEALS
                                          FOR THE SIXTH CIRCUIT

                     Disclosure of Corporate Affiliations
                            and Financial Interest
 Sixth Circuit
 Case Number 22-1856                                Case Name: Canter v. Disability Network, et al.
 Name of counsel:        Douglas J. Curlew


 Pursuant to 6th Cir. R. 26.1,       City of Muskegon and Franklin Peterson
                                                            Name of Party
 makes the following disclosure:
 1.      Is said party a subsidiary or affiliate of a publicly owned corporation? If Yes, list below the
         identity of the parent corporation or affiliate and the relationship between it and the named
         party:

  No.




 2.      Is there a publicly owned corporation, not a party to the appeal, that has a financial interest
         in the outcome? If yes, list the identity of such corporation and the nature of the financial
         interest:
  No.




                                              CERTIFICATE OF SERVICE
 I certify that on              September 28. 2022                       the foregoing document was served on all



                                  s/ Douglas J. Curlew
                                   17436 College Parkway
                                   Livonia. Ml 48152


            This statement is filed twice: when the appeal is Initially opened and later, in the principal briefs,
                immediately preceding the table of contents. See 6th Cir. R. 26.1 on page 2 of this form.



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8/08                                                                                                                 Page 1 of 2
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                                       6th Cir. R. 26.1
                           DISCLOSURE OF CORPORATE AFFILIATIONS
                                  AND FINANCIAL INTEREST

                                                         .
        (a) Parties Required to Make Disclosure With the exception of the United States
 government or agencies thereof or a state government or agencies or political subdivisions thereof,
 all parties and amici curiae to a civil or bankruptcy case, agency review proceeding, or original
 proceedings, and all corporate defendants in a criminal case shall file a corporate affiliate/financial
                               .
 Interest disclosure statement A negative report is required except in the case of individual criminal
 defendants.
        (b) Financial Interest to Be Disclosed.
                (1) Whenever a corporation that is a party to an appeal, or which appears as amicus
 curiae, is a subsidiary or affiliate of any publicly owned corporation not named in the appeal, counsel
 for the corporation that is a party or amicus shall advise the clerk in the manner provided by
 subdivision (c) of this rule of the identify of the parent corporation or affiliate and the relationship
 between it and the corporation that is a party or amicus to the appeal. A corporation shall be
 considered an affiliate of a publicly owned corporation for purposes of this rule if it controls, is
 controlled by, or is under common control with a publicly owned corporation     .
                  (2) Whenever, by reason of insurance, a franchise agreement, or indemnity agreement,
 a publicly owned corporation or its affiliate, not a party to the appeal, nor an amicus, has a substantial
 financial interest in the outcome of litigation, counsel for the party or amicus whose interest is aligned
 with that of the publicly owned corporation or its affiliate shall advise the clerk in the manner provided
 by subdivision (c) of this rule of the identify of the publicly owned corporation and the nature of its or
                                                                            .
 its affiliate's substantial financial interest in the outcome of the litigation
         (c) Form and Time of Disclosure. The disclosure statement shall be made on a form
 provided by the clerk and filed with the brief of a party or amicus or upon filing a motion, response,
 petition, or answer in this Court, whichever first occurs.




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                   STATEMENT REQUESTING ORAL ARGUMENT

             Defendants-Appellees City of Muskegon and Franklin Peterson request oral

argument. The principal brief by Plaintiff -Appellant Eleanor Canter is predicated

upon mischaracterization of the record and the law. It is anticipated that similar

mischaracterizations will appear in Canter’s reply brief. Oral argument will be the

Defendants-Appellees’ only opportunity to rebut such mischaracterizations in

Canter’s reply.




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                            JURISDICTIONAL STATEMENT

             Canter correctly recites that this Court has jurisdiction by authority of 28

U.S.C. §1291.




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                           -
                COUNTER STATEMENT OF QUESTIONS PRESENTED

                  I.     SHOULD SUMMARY JUDGMENT IN FAVOR
                         OF THE CITY OF MUSKEGON AND
                         FRANKLIN PETERSON BE AFFIRMED ON
                         THE GROUND THAT PLAINTIFF-APPELLANT
                         ELEANOR CANTOR FAILED TO PRESENT
                         EVIDENCE TO SUPPORT HER CLAIMS?

                         Appellant Canter answers: “ No.”

                         Appellees City of Muskegon and Franklin Peterson
                         answer: “Yes.”


                  II.    SHOULD SUMMARY JUDGMENT IN FAVOR
                         OF PETERSON ALSO BE AFFIRMED ON THE
                         GROUND OF QUALIFIED IMMUNITY?

                         Appellant Canter answers: “No.”

                         Appellees City of Muskegon and Peterson answer:
                         “Yes.”


                  III.   SHOULD SUMMARY JUDGMENT IN FAVOR
                         OF THE CITY ALSO BE AFFIRMED ON THE
                         GROUND THAT CANTER HAS NO EVIDENCE
                         OF CITY POLICY OR ACTION WHEREBY
                         MUNICIPAL LIABILITY COULD ARISE?

                         Appellant Canter answers: “ No.”

                         Appellees City of Muskegon and Franklin Peterson
                         answer: “Yes.”




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                           COUNTER-STATEMENT OF THE CASE

                                          Introduction.

             Plaintiff -Appellant Eleanor Canter presents herself as an advocate for the

rights of the disabled. She claims that the Defendants-Appellees conspired to

retaliate against her advocacy in violation of the First Amendment, the Americans

with Disabilities Act, the Rehabilitation Act and Michigan’s Persons with

Disabilities Civil Rights Act.

             Canter expressly relies upon “is all the emails going back and forth between

the different parties.” (R. 109-1, Pg ID 995, Canter Dep., 8/5/21, p. 92, lines 6-7).

Supposedly, these emails make the alleged conspiracy “real obvious ” (R 109 1,        .   -
                                                             -
Pg ID 995 996, 998, Canter Dep., 8/5/21, pp. 92 93, 104, lines 14 15). But when
                   -                                                           -
the emails are read, Canter’s interpretation is shown to be utter fantasy.

                Canter has never been subjected to “ retaliation,” nor has her advocacy been

“chilled.” The Defendants-Appellees have consistently responded to Canter’s

complaints and criticisms - with the City of Muskegon, through City Manager

Franklin Peterson, even scheduling a special meeting for Canter to confront City

officials with her grievances.

                Indeed, Canter acknowledged at deposition that “/’m still allowed to speak”

and “I’m doing advocacy right now ” (R. 109-2, Pg ID 1058, Canter Dep., 8/11/21,

p. 58) .


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             The situation is that the Defendants-Appellees simply disagree with Canter’s

interpretation of ADA regulations, such that her advocacy has not achieved the result

to which Canter believes herself entitled. But merely being denied the “ result” for

which one advocates cannot support a finding of “ retaliation.”

             Rather, Canter must present evidence that her desired result would not have

been denied “but for” a retaliatory motive on the part of the Defendants-Appellees.

Canter has no such evidence.

                                         Substantive Facts.

             Canter asserts that “ [t]his case centers on the Heritage Square Commons

building in Muskegon.” (Canter Appellate Brief, p. 3). But the supposed lack of

ADA accessible entrances at the Heritage Square Commons (HSC) building is not

the “center of this case. As Canter herself summarizes her case, “[t]his lawsuit

challenges a coordinated effort to retaliate and silence” Canter’s “advocacy ”            .
" demand for compliance with the Americans with Disabilities Act, ” and “ protected

criticism of local officials.” (Appellant Canter’s Brief, p. 24). This case “centers”

upon the supposed retaliation against Canter for her “advocacy,” her “demand ” and

her “criticism,” not upon the accessibility of the HSC building per se.1

                Canter’s conspiratorial interpretation of the emails surrounding the HSC is a


1
 Indeed, Canter has admitted that the City of Muskegon and its municipal officials
“are not responsible for enforcement of the ADA.” (R. 109-1, Pg ID 997, Canter
Dep., 8/5/21, p. 100) .

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manifestation of Canter’s long-standing hostility toward Disability Network West

Michigan (DNWM). Specifically, Canter opposes the manner of advocacy espoused

by Diane Fleser (the DNWM CEO) and Brad Hastings (the DNWM “Advocacy and

ADA Coordinator”).

             From 2003 to 2005 Canter was a volunteer “community organizer” for the

                       -
DNWM. (R. 103 3, Pg ID 611, Canter Dep., 9/18/20, p. 15). But Canter’s “square

one” for disability advocacy is “consumer control.” (R. 111-1, Pg ID 1308, Canter

Email, 4/19/19 @ 6:10 p.m.) . Canter believes that disabled people themselves (the

“consumers”) should have a direct role in advocacy on their behalf. (R. 103-3, Pg

ID 616, Canter Dep., 9/18/20, p. 33). She believes that the DNWA wrongly

measures its legitimacy by having a certain percentage of disabled staff and Board

members. (R. 103-4, Pg ID 647, Canter Dep., 9/22/20, p. 20) .

             Canter claims the environment at DNWM became “ hostile” when “a lot of

nondisabled people being brought on board,” who supposedly oppose her

“consumer-based advocacy approach.” (R. 103-3, Pg ID 613, Canter Dep.,
9/18/20, p. 21). As Canter summarizes:

                   At Disability Network West Michigan, disabled people
                   engaging in consumer driven advocacy is not welcome
                   and its not acceptable to them. That’s why they can’t serve
                   me. It’s really a cultural problem with the leadership of
                   that organization.

                           -
                   (R. 109 1, Pg ID 989, Canter Dep., 8/5/21, p. 67).



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             Canter is now “communication coordinator” for an alternative disability

advocacy group, i.e., the National Council on Independent Living. (R. 103 3, Pg ID     -
613, Canter Dep., 9/18/20, pp. 22-23; R. 109-1, Pg ID 976, Canter Dep., 8/5/21,

p. 16) . Canter has also organized a separate “consumer-controlled advocacy group,”

the Disability Justice League, which rejects participation by DNWM staff, whom

Canter accuses of “thinking] their job is to interfere with and derail consumer-

                                    -
driven advocacy.” (R. 111 1, Pg ID 1308, Canter Email, 4/19/19 @ 6:10 p.m.).

Rather ironically, Diane Fleser (now CEO of the DNWM) was a co-founder of the

                                             -
Disability Justice League. (R. 103 3, Pg ID 614-615, Canter Dep., 9/18/20, pp.

28-29; R. 103-7, Pg ID 673, Fleser Declaration, 113; R. 103-13, Pg ID 694, Fleser

Affidavit, 3/9/20, 111) . But Canter became convinced that Fleser was “interfering

in our advocacy . . . [a]nd I told her I would no longer allow her to be a part of the

group.” (R. 103-3, Pg ID 615, Canter Dep., 9/18/20, p. 29).

                Canter also volunteers for the “Peer Action Alliance.” (R. 103-3, Pg ID 613,

Canter Dep., 9/18/20, p. 24). According to Canter, she and her mother (Dharma

Canter) write the Peer Action Alliance blog and run the organization’s Facebook

page. (R. 103-3, Pg ID 614, Canter Dep., 9/18/20, pp. 27-28) .

                Of particular importance to Canter’s criticism, the DNWM offers architectural

“accessibility reviews” to private businesses. (R. 103-5, Pg ID 660-661, DNWM

Blog Post). Brad Hastings conducts the reviews. (R. 103-6, Pg ID 667-668,


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Hastings Affidavit, UH 3, 6, 9) .

              Canter claims that the access reviews are “falsified ” and that the DNWM

promises “ not to report violations of state and federal law in exchange for cash.” (R                     .
      -                                                                    .
103 16, Pg ID 711, Canter Email, 8/24/19 @ 11:04 a.m.; R 109 13, Pg ID 1209,           -
Canter Email, 8/27/19 @ 9:12 p.m.). Canter has posted that the DNWM has

violated its “responsibilities under the law” by using a “non-disabled advocacy

coordinator” with “inadequate training” (i.e., Hastings) to “sell fraudulent access

                                                        . -
reviews to anyone who pays them off.” (R 111 9, Pg ID 1376, Eleanor Canter

Facebook Post). Yet while Canter has acknowledged that the access reviews were

                              .     -                              .
offered for “free.” (R 103 3, Pg ID 621, Canter Dep , 9/18/20, p 54; R 103 5,              .   .       -
Pg ID 660, DNWM Blog Post).

                In November 2018, the HSC became focus of Canter’s criticism. According

to Canter, she tried to attend an event at the Drip Drop Drink Coffee shop, within

                                                                       .       -
the HSC, but “ the accessible entry had a locked door.” (R 109 2, Pg ID 1050 1051,                 -
Canter Dep., 8/11/21, pp. 50-51) .

                Canter identified this incident as occurring on December 13, 2018. (R 109          .       -
                                    .           .
2, Pg ID 1050, Canter Dep , 8/11/21, p 50). But Canter had complained about the

HSC two weeks earlier by a November 28, 2018, email to Kirk Briggs and Franklin

Peterson. Briggs conducts inspection services for the City. (R 131, Pg ID 2755,    .


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Joint Statement of Undisputed Material Facts, U 5-6) .2 Peterson served as City
Manager for Muskegon from September 2013 to April 1, 2022. (R. 131, Pg ID 2754,

Joint Statement of Undisputed Material Facts, H 2). In her email, Canter
complained that the Drip Drop “does not appear to have an accessible entrance.” (R.

106-3, Pg ID 912, Canter Email, 11/26/18 @ 10:40 a.m.) .

             Peterson responded that there was an accessible door with a ramp. (R. 106-3,

Pg ID 912, Peterson Email, 11/26/18 @ 10:48 a.m.). The ramped entrance can be

seen in the front of the building (immediately next to the coffee shop main door) and

is shown by an architectural diagram to lead to a hallway affording access to the

coffee shop. (R. 115-1, Pg ID 1593, 1594, Photographs; R. 115-2, Pg ID 1597,

Diagram) .

             That same day, Briggs emailed Gary Post (the developer) reminding him that

the doors providing the ramp entrance to the Drip Drop Drink “should be left

unlocked during business hours ” (R. 106-3, Pg ID 911, Briggs Email, 11/26/18 @

4:38 p.m.) . Post assured Briggs that he would contact the shop owners. (R. 106-3,


2The City hired SAFEBuilt as an “independent contractor” to provide an inspector
with “experience” and “expertise” in the interpretation and application of building
codes. (R. 106-2, Pg ID 878, 885-886, “Professional Services Agreement,” at
“Recitals and Representations” and §§2.2 and 11.1. Briggs was hired as “Chief
Building Official and Building Inspector, acting as an employee of SAFEBuilt on
behalf of the City of Muskegon. (R. 106-4, Pg ID 929-930, Briggs Affidavit, HU 3-
5, 8) .



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Pg ID 911, Post Email, 11/26/18 @ 4:50 p.m.). Briggs reiterated that “the ramp is

what you need for ADA to the building.” (R. 106-3, Pg ID 911, Briggs Email,

11/26/18 @ 4:54 p.m.

           The next day , Briggs forwarded Canter’s complaint to Post - - and admonished

Post to “ please understand that ADA compliance is critical .” (R. 106-3, Pg ID 913,

Briggs Email, 11/27/18 @ 3:25 p.m.). Post assured Briggs that he had spoken with

the coffee shop owner about keeping the door open. (R. 106-3, Pg ID 913, Post

Email, 11/27/18 @ 3:41 p.m.).

               Briggs then sent an email to Canter. That email reads:

                     Eleanor, thank you for your input, we have reviewed
                     chapter 1105 and the code requires 60% of the entrances
                     into a building, or as required by other parts of chapter
                     1105 . Drip Drop Drink is only part of a building and that
                     building must meet the 60% ADA. there are 5 entrances
                     into that building 3 of them are ADA compatible, this
                     complies with the 60%. If you feel there should be more
                     accessibility you can contact Gary Post direct . You will
                     find that he is a very nice and approachable person.

                     If you would like to review the code with me you are
                     welcome to stop up to my office and I will certainly spend
                     time with you. I am willing to review with you many of
                     the entrances in the Muskegon area. We could even work
                     together to develop a ADA complaint form to get you
                     better results.

                     You are also welcome to stop in the office and review any
                     permits that are in the plan review stage at any time.

                     (R. 106-3, Pg ID 914-915, Briggs Email, 11/28/18 @
                     3:37 p.m., emphasis added) .

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Briggs’ emails demonstrate three key points.

             First. Briggs took the position that “ADA compliance is critical,” and he

insisted that Post address the problem of the locked door). (R. 109-2, Pg ID 1050-

1051, Canter Dep., 8/11/21, pp. 50-51) . Briggs did not oppose Canter’s advocacy.

He supported her.

             Second. Briggs acknowledged that the ADA required 60% of the building

entrances to be accessible to the disabled. This demonstrates the falsity of Canter’s

assertion that Briggs and Peterson happily adopted [ Brad] Hastings' guidance” in

this regard. (Appellant Canter’s Brief, p. 61) . Hastings had no involvement with

issues surrounding the Heritage Square Commons building, until two days after

Briggs’ email - - when Hastings emailed a complaint of his own. (R. 115-5, Pg ID

1603, Hastings Email, 11/30/18 @ 9:46 a.m.) . Briggs, and thus the City , had

reached their conclusion regarding ADA 60% accessibility requirements at the HSC

independently - - before any involvement by Hastings.

             Third. Briggs was willing to meet with Canter to review existing and pending

project throughout Muskegon. Such offer was never withdrawn. Indeed, the offer

was repeated by City Manager Peterson at a meeting with Canter on April 5, 2019.

                But Canter was not satisfied. She contended that some entrances to the HSC

building were “ restricted,” not “public,” and that only one of the public entrances

                                                                         . -
was accessible, such that the 60% requirement was not met. (R 106 3, Pg ID 914,

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Canter Email, 12/2/18 @ 12:28 p.m.) .

            Brad Hastings and Diane Fleser at the DNWM were no less concerned than

Canter. In a November 30, 2018, email to Peterson, Hastings complained to City

Manager Peterson that:

                 The new Drip Drop Drink located at 926 Second Street,
                 lacks an accessible entrance. . . . As this is new
                 construction and is a place of public accommodation, it is
                 required to be accessible and to meet the 2010 Standards
                 of Accessibility. I am curious how something like this was
                 not caught in the design or building inspection phase? I
                 would like to know how we can be part of the planning
                 process to prevent this from happening in the future? Any
                 guidance would be greatly appreciated.

                  (R. 115-5, Pg ID 1603, Hastings Email, 11/30/18 @ 9:46
                  a.m.).

Canter acknowledges that Hastings “identified the same concerns raised by Canter.”

(Appellant Canter Brief, p. 4) .

            Diane Fleser also emailed Peterson that:

                  The aforementioned door to the right [of the coffee shop]
                  creates a barrier because it is locked to the public (at least
                  currently). Some additional signage notifying the public
                  that an additional “accessible” entrance exists is a good
                  low hanging solution to move forward with. Additionally,
                  however, with our expertise and motivated willingness to
                  be on the front end of these concerns we certainly covet
                  the opportunity to positively influence these types of plans
                  moving forward by working together (to Brad’s larger
                  point). Suffice to say, the design at Drip, Drop, Drink is
                  an unfortunate example of a missed opportunity.

                  (R. 115-12, Pg ID 1632, Fleser Email, 12/5/18 @ 8:51


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                     a.m.) .

             Post responded with his belief that the building “complied with all building

codes as they relate to accessibility.” (R. 115-7, Pg ID 1622, Post Email, 12/6/18

@ 9:24 p.m.). Fleser replied that “I believe there are still valid concerns relating to

                                                                  .    -
accessibility that will be beneficial to explore.” (R 115 7, Pg ID 1622, Fleser

Email, 12/11/18 @ 3:42 a.m.).

             Hastings replied that:

                     I have now spoken with the Access Board (the body that
                     writes the Accessibility Standards) and the Department of
                     Justice (the body responsible for enforcing them). Both
                     entities believe that this is an ADA violation, meaning that
                     it is discriminatory to require persons with mobility
                     impairments to use a separate entrance that requires a
                     buzzer when ambulatory people can use the unlocked front
                     door without a buzzer. While it is okay for them to have a
                                                     .
                     separate Accessible entrance it is not okay for it to be
                     locked, with a buzzer required for access. This route
                     needs to be unlocked during business hours. .. . There also
                     needs to be signage indicating where the Accessible
                     entrance is.

                      (R. 115-11, Pg ID 1631, Hastings Email, 12/11/18 @
                     4:53 p.m., emphasis added) .

Thus Hastings, like Briggs, had researched the issue and determined the problem to

be the locked door.

                But Hastings also admonished that:

                      Additionally, it is important to remember that these
                      standards are the absolute BARE MINIMUM of what is
                      considered accessible.

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                     (R. 115-11, Pg ID 1631, Hastings Email, 12/11/18 @
                     4:53 p.m.) .

             Briggs, too, consulted with other authorities. He learned from state regulators

the same thing that Hastings had been told by the Access Board. Briggs summarized

that “ [ Recording to them this building does comply, however the door with the ramp

should not be locked during business hours ” (R. 115-9, Pg ID 1628, Briggs Email,

12/12/18 @ 2:52 p.m.

             Thus, Briggs, on behalf of the City, was determined to ensure compliance with

the ADA and had sought to confirm his own interpretation of the ADA with state-

level authorities. He was also willing to meet with Hastings to address ADA

accessibility issues - -        just   as he had offered to meet with Canter to that end . (R.

115-9, Pg ID 1628, Briggs Email, 12/12/18 @ 2:52 p.m.) .

             Hastings replied that “the immediate next steps are to make sure that there is

adequate signage to indicate where the accessible route and . . . that the door to the

accessible entrances be unlocked during business hours.” (R. 115-10, Pg ID 1629,

Hastings Email, 12/13/18 @ 2:01 p.m.). Post sent an email asking Hastings for

recommendations regarding “the appropriate verbiage” for the sign. (R. 115-10, Pg

ID 1629, Post Email, 12/13/18 @ 11:27 p.m.) .

                Canter emailed Hastings to ask whether he was “intervening in the Drip Drop

Drink issue.” (R. 115-16, Pg ID 1639, Canter Email, 12/14/18 @ 1:02 p.m.) . But


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Hastings had already done so. Moreover, Hastings and Fleser met directly with Post

and Briggs to press their concerns. (R. 115-18, Pg ID 1641, Hastings Email,

1/22/19 @ 9:36 p.m.).

             There is no evidence that Canter ever availed herself of the offered

opportunity to meet with Briggs and review accessibility issues. Nor is there any

evidence that Canter ever availed herself of the same offer when reiterated later by

Franklin Peterson.

             But Hastings    - - consistent with his concern that the deficiencies of the HSC
were “not caught in the design or building inspection phase” (and with Fleser’s

concern to address such matters “on the front end” to avoid another “missed

opportunity” ) - - took initiative to obtain a more proactive platform. Hastings’ next

email in the record is an inquiry to Peterson asking whether “ there has been any

progress of appointing me to the Downtown Development Authority.” (R. 115 17,                -
Pg ID 1640, Hastings Email, 1/7/19 @ 7:52 p.m.). Evidently such appointment

                     . -
occurred. (R 115 19, Pg ID 1642, Post Email, 1/25/19 @ 2:44 a.m.) . What Canter

describes as “conspiracy ” was an effort by the DNWM to do its job                    - - i.e., to
advocate for accessibility during the planning phase of local projects.

                Critically - - despite his appointment to the DDA and despite his meeting with

Post and Briggs - - Hastings did not relent in his criticism of Post’s HSC building.

On January 22, 2019, Hastings reiterated the requirement for a sign showing the



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accessible route - - and emphasized that “[t]he entrance needs to be unlocked during

business hours.” (R. 115-18, Pg ID 1641, Hastings Email, 1/22/19 @ 9:36 p.m.).

             Post confirmed that leaving the door unlocked was “OK.” (R. 115-19, Pg ID

1642, Post Email, 1/25/19 @ 2:44 a.m.) . The emails from Briggs, Hastings and

Fleser had demonstrably made Post aware of his obligation, and Post indicated an

intent to do so.

             On March 1, 2019, Canter emailed Post asking whether he had a plan to bring

HSC “into compliance with the ADA?” (R. 115-20, Pg ID 1644, Canter Email,

3/1/19 @ 12:20 p.m.) . In seeming reference to the same meeting mentioned by

Hastings’ email of January 22nd, Post responded that:

                   We met a few weeks ago with Brad Hastings from the
                   Disability Network and Kirk Briggs from SafeBuilt, the
                   city of Muskegon’s inspection department. It was a very
                   good meeting and we all agreed that we were in
                   compliance with ADA.

                   (R. 115-20, Pg ID 1644, Post Email, 3/4/19 @ 7:33 a.m.) .

Post’s response ienored the continuing concerns raised by Hastings, Fleser and

Briggs that the accessible doors must be kept unlocked . Post also failed to mention

Hastings’ admonition that signage and unlocked doors were “ the absolute BARE

MINIMUM of what is considered accessible.” (R. 115-11, Pg ID 1630, Hastings

Email, 12/11/19 @ 4:53 p.m.; R. 115-18, Pg ID 1641, Hastings Email, 1/22/19 @

9:36 p.m.).


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             But Post’s inaccurate description became a trigger for Canter. (R. 115-16, Pg

ID 1639, Canter Email, 12/14/18 @ 1:02 p.m.). Canter emailed Hastings

demanding to know “is this an accurate description, Brad ?” (R. 103-8, Pg ID 679,

Canter Email, 3/4/19 @ 9:01 a.m.) .

             Hastings emailed Fleser that Post’s email to Canter was “nof’ an “accurate

description.” Hastings explained that:

                     I now have an email from Eleanor asking if this is an
                     accurate description. It is not. We discussed that IF they
                     made sure that the other door was unlocked during
                     business hours and they provided signage to indicate the
                     accessible route, they would be meeting BARE
                     MINIMUM access requirements, We are not an
                     enforcement agency for the ADA so, we cannot tell
                     anyone whether or not they are in compliance. All we can
                     do is provide guidance. Unfortunately, in this case, Port
                     City CDS has opted to do the bare minimum to providing
                     access instead of making the main entrance accessible,
                     which is the intent of the standards. I consulted with both
                     the US Access Board and the Department of Justice on this
                     issue and did not make this judgment alone.

                      (R. 115-20, Pg ID 1644, Hastings Email, 3/4/19 @ 10:17
                      a.m., emphasis added).

                In an email to Hastings the next day, Canter complained that:

                      This question requires a response. I think we deserve to
                      know if our CIL [ i.e., the DNWM ) is sabotaging consumer
                      advocacy and giving cover to entities violating the ADA.

                      Did the CIL get paid to sell us out, or did Brad just wet his
                      pants as soon as he got in a room with two other powerful
                      non-disabled white men?


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                   Obviously, Heritage Square Commons is not ADA
                   compliant, and Brad knows that because I sent him the
                   relevant standards months ago. So what’s going on here?

                   This is truly a new low. If you have anything to say for
                   yourselves, now is the time.

                   (R. 103-8, Pg ID 679, Canter Email, 3/5/19 @ 8:59 a.m.,
                   emphasis added).

             Fleser interjected herself into the exchange, admonishing Canter that:

                   First and foremost, initiating an attack on a member of my
                   team is completely unacceptable and is nothing anyone
                   should have to tolerate - - 1 certainly will not. Our goals
                   center around personal empowerment and positive social
                   change for people with disabilities; vour tactics to belittle
                   and bully. are not conducive to advancing our mission and
                   frankly do not warrant a response, speaking of “ new
                   lows.” Your attempts to communicate often result in failed
                   exchanges because of the hostile platform you pursue.
                   Here’s what I believe you need to know and I believe Brad
                   is sending a courtesy follow-up as well.

                   We will continue to work with communities, to educate
                   them on their responsibilities, to promote inclusion and
                   accessibility, to share the great opportunities businesses
                   have by expanding their markets, to educate on population
                   demographics that include a very large aging population
                   who would also like access to goods and services and we
                   will especially continue to work upstream to ensure these
                   considerations are the forefront of plans and concept
                   development. As you may know, although the minimum
                   guidelines of the ADA may meet the letter of the law, it
                   certainly does not embrace the spirit of the law which
                   speaks to FULL inclusion of all citizens in all areas of
                   community life. Unfortunately, the ADA is a law that sets
                   minimum guidelines to ensure equal access and
                   opportunity for people with disabilities; these minimum
                   guidelines do not ensure that a business is disability -

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                    friendly or even that it is accessible at a practical level.
                    Yes, WE KNOW THIS and push beyond the bare
                    minimum in every interaction we have, including with Mr.
                    Post. He knows what he has to do.

                    (R. 103-8, Pg ID 678-679, Fleser Email, 3/5/19 @ 4:04
                    p.m., emphasis added) .

             Not willing to back down, Canter then let loose her criticism on Fleser, stating:

                    You don’t get to exploit our advocacy, use our civil rights
                    law as an opportunity to make a quick buck, and then turn
                    yourselves into the victim. What you’re doing is illegal,
                    outrageous, and in total contradiction to everything the
                    Independent Living Movement stands for.

                    Your privilege is showing and it is disgusting.

                    You’re being extremely disrespectful to me and to the
                    entire disability community - - daily. You don’t get to
                    demand that we respond with deference to your make-
                    believe authority.

                    Interference in      our advocacy         needs       to stop
                    immediately .

                    Signage will not bring Heritage Square Commons into
                    compliance with the ADA. Every time you make that
                    statement, you participate in a crime. Brad’ s statements
                    to the contrary are absurd.

                    You’re in way over your head here and it needs to stop.

                    (R. 103-8, Pg ID 678, Canter Email, 3/7/19 @ 9:03 a.m.,
                    emphasis in original) .

               Hastings responded by citing an “ADA Guide for Small Businesses” that he

believed permitted the adjacent entry arrangement, but he reiterated the DNWM


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position that the door must be unlocked. (R. 115-24, Pg ID 1649, Hastings Email,

3/5/19 @ 4:18 p.m.) . He also emphasized that:

                 You should know that in assessing this situation, I did not
                 only rely on my own training and technical education of
                 the ADA. I reached out to other Certified ADA
                 Coordinators, as well as the U.S. Access Board and the
                 Department of Justice. It was concluded that while the
                 intent of the standards is to make the main entrances
                 accessible, Port City would meet the bare minimum
                 requirements if the door remained unlocked during
                 business hours and signage was provided to indicate an
                 accessible route.

                 (R. 115-24, Pg ID 1649, Hastings Email, 3/5/19 @ 4:18
                 p.m., emphasis added).

Hastings also added that:

                 I also want you to know that while you and I have not
                 worked together on this, I indeed have input and support
                 from people from with significant disabilities EVERY
                 DAY. I have also spent hundreds of hours studying the
                 ADA, connecting to individuals and other experts across
                 the country and am greatly passionate about my role. It
                 has been my observation that vour approach pushes
                  people away from the table, just as you have pushed us
                 away. I am building relationships and getting people
                 excited to work with us and learn about accessibility and
                 inclusion.

                 (R. 115-24, Pg ID 1649, Hastings Email, 3/5/19 @ 4:18
                 p.m., emphasis added ).

Hastings also added the postscript that: “If you think they are violating the ADA,

please note that     you   can   file a                                       .
                                          complaint aeainst a Title III entity [i.e. Post and the

HSC] with the United States Department of Justice.” (R. 115-24, Pg ID 1649,

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Hastings Email, 3/5/19 @ 4:18 p.m.).

              Canter then accused Hastings of “sabotaging our advocacy efforts and lying

to our faces about it” - - with “our” presumably meaning Canter and the consumer-

focused groups she favored. (R. 115-21, Pg ID 1645, Canter Email, 3/6/19 @ 9:28

a.m.). Canter contended that the “ADA Guide for Small Businesses” is outdated

and “irrelevant,” because it does not address new standards released in 2010. (R.

      -
115 21, Pg ID 1645, Canter Email, 3/6/19 @ 9:28 a.m.). Canter’s attitude toward

Hastings was again manifested in Canter’s closing statement that:

                      This is extremely embarrassing for you. I’d be careful
                      about how you proceed. You’re tiptoeing right up to
                      participating in a conspiracy ,     I’d also suggest
                      familiarizing yourself with the ADA’s interference and
                      administrative methods section. You are violating the
                      ADA right now.

                      You need to know a lot more about the ADA before you
                      give legal advice on subjects with such profound potential
                      consequences. Your response disqualifies you from any
                      further “expertise” on this subject.

                      (R. 115-21, Pg ID 1645, Canter Email, 3/6/19 @ 9:28
                      a.m., emphasis in original) .
                Hastings responded that he had “contacted the relevant authorities” { being the

United States Department of Justice and the United States Access Board) and that

                                                                              -
he had “proceeded with their guidance and suggestions.” (R. 115 61, Pg ID 1616,

Hastings Email, 3/6/19 @ 10:38 a.m.). Canter rejected this, stating that contact

with the Department of Justice and Access Board was “ not a believable story.” (R.

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115-6, Pg ID 1616, Canter Email, 3/6/19 @ 6:39 p.m.) .

             Canter then emailed Post and “city representatives” asserting that Briggs

“either does not understand the code or is engaged in a cover-up of a mistake, and
she demanded to know if anybody at the City was “competent” or

“ uncompromised.” (R. 106-3, Pg ID 919-920, Canter Email, 3/10/19 @ 11:02

a.m.) . Canter accused Hastings of misinterpretation and a “ ridiculous performance”

- - noting that she had filed “complaints about Brad’s behavior to the DOJ, Access
Board, the Independent Living Administration, and the entity that supposedly

 certified’ him.” (R. 106-3, Pg ID 920, Canter Email, 3/10/19 @ 11:02 a.m.).

             But Hastings showed himself to be diligent. In an email to Briggs, Post and

Peterson, Hastings advised that:

                   I just wanted to follow-up and inform you that I have sent
                   a follow-up email to the Access Board with the floor plan
                   of the lower level of Heritage Square Commons attached
                   and explanations of which entrances are ramped and open
                   during business hours. I will let you know when I hear
                   anything back. If they tell me that I have made a mistake
                   and given poor guidance. I will admit that. I tried my best
                   to do my due diligence in this scenario and if somehow I
                   misrepresented the situation on my first inquiries, I will
                   apologize and be better in the future. In any case, it was
                   certainly not my intent to sauash the advocacy of members
                   of the disability community, but to support it by providing
                   accurate technical information with the council fsicl of
                   the federal authorities on the subject.
                   It was also made clear in our meeting with Gary, Kevin,
                   and Kirk, that even if this does meet the standard, the
                    standards set a bare minimum and future projects should
                    provide much sreater accessibility so that Muskegon can


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                    become a more inclusive community. I look forward to
                    hearing from the Access Board so we can straighten this
                    out.

                    (R. 115-26, Pg ID 1645, Hastings Email, 3/11/19 @ 9:29
                    a.m., emphasis added) .
Hastings did not include Canter as a recipient of this email, so the email was not an

attempt by Hastings to look humble for her.

            When Hastings received an answer from the Access Board, he reported:

                    I just got off the phone with the U.S. Access Board.



                    After a somewhat lengthy conversation, they confirmed
                    the original conclusion, which was that the building could
                    have been designed with much greater accessibility, but it
                    does comply with the bare minimum standards as Ions as
                    the ramped front entrance is unlocked durins business
                    hours and there is siznase indicating the accessible route.
                    I look forward to working together in the future to avoid
                    these types of scenarios.

                    (R. 115-27, Pg ID 1656, Hastings Email, 3/12/19 @ 3:19
                    p.m., emphasis added).

               But on March 20, 2019, Canter again emailed Hastings and Fleser that the

2010 ADA standards required “ that 60% of entrances are accessible,” and she

characterized Hastings’ position to be “extremely embarrassing for you.” (R. 111-

1, Pg ID 1290, Canter Email, 3/20/19 @ 8:31 a.m.).3


3It should be remembered that Briggs, on behalf of the City, had been proceeding
under this “60%” standard from the 2010 ADA standards all along and had

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             Hastings emphatically denied ever saying that the 2010 ADA standards did

not apply        - - and   he back -tracked from his earlier reference to the 1999 Small

Business Guide. (R. 111-1, Pg ID 1292, Hastings Email, 3/21/19 @ 4:04 p.m.) .

He reiterated, however, his opinion that the “Heritage Square Commons does meet

the 60% requirements” of the 2010 ADA. (R. 111-1, Pg ID 1292, Hastings Email,

3/21/19 @ 4:04 p.m.) . Quoting the definition of “ restricted entrances” from the

2010 ADA standards, Hastings emphasized that the accessible entrances that Canter

deemed to be “restricted” (and therefore not part of the 60% calculation) “are

actually considered ‘ public,’ meaning 3/5 (60% ) of ‘ public entrances’ are

accessible ” (R. 111-1, Pg ID 1292, Hastings Email, 3/21/19 @ 4:04 p.m.).

             Peterson ( who has made no claim to personal ADA expertise ) found Hastings’

interpretation -       -   atop the identical original assessment by Briggs         --   to be

persuasive. Peterson reiterated Hastings’ explanation in an email. (R. 111 1, Pg ID -
1294-1295, Peterson Email, 3/22/19 @ 2:43 p.m.) .

             Canter rejected Hastings’ conclusions as “ non-sensical,” suggesting that

Hastings and the DNWM were willing “to just make this stuff up.” (R. 111-1, Pg

ID 1296, Canter Email, 3/23/19 @ 11:14 a.m.). She accused the City and DNWM

of “trading favors for favorable . . . legal advice” as part of “a quid pro quo.” (R.



confirmed it to Canter, even before Hastings ever became involved. (R. 106-3, Pg
ID 914-915, Briggs Email, 11/28/18 @ 3:37 p.m.) .

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111-1, Pg ID 1296, Canter Email, 3/23/19 @ 11:14 a.m.) .

           Far from “ trading favors,” Hastings and Fleser wanted accessibility problems

to be “caught in the design or building inspection phase” and had wanted to be
                                                                               . -
involved “on the front end” to avoid such “ missed opportunities.” (R 115 5, Pg ID

1603, Hastings Email, 11/30/18 @ 9:46 a.m.; R. 115-12, Pg ID 1632, Fleser

Email, 12/5/18 @ 8:51 a.m.) . Peterson acknowledged that the City “could have
                                                                              . -
encouraged the developer to do better in terms of accessibility. (R 111 1, Pg ID

1294-1205, Peterson Email, 3/22/19 @ 2:43 p.m.) .

            Consistent with these goals, Peterson’s email of March 22, 2019, included the

"solution” of DNWM agreeing “to partner with the Muskegon Building Department

as a resource for ADA compliance.” (R. 111-1, Pg ID 1294-1295, Peterson Email,
3/22/19 @ 2:43 p.m.) . As Peterson observed, “while things will meet the minimum

code, there still         may   be a better wav to comply with the ADA rules while further

improving            accessibility beyond   the minimum [and] Disability Network West

Michigan would be in favor of teaming with us to help make this happen                (R. 111-

1, Pg ID 1295, Peterson Email, 3/22/19 @ 2:43 p.m.).

                Yet the City also remained willing to hear from Canter too. The City took the

step of scheduling an in-person meeting for Canter with Peterson and other City

officials. (R. 111-1, Pg ID 1297, Dwana Thompson Email, 4/1/19 @ 11:24 a.m.).

That meeting of April 5, 2019, is documented by Canter’s own audio recording. (R.


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109-14, Pg ID 1214, Audio Recording).

            The recording reveals that Canter had a host of “grievances” regarding

accessibility issues around the City. Specific complaints regarding the HSC were

raised, too.

            Although Peterson expressed regret that contacts with Canter have tended to

be “adversarial,” he agreed to Canter’s demands throughout the meeting. Canter

complained that Brad Hastings was getting review access to building plans, while

she was not. (Audio Recording Time Code 22:14-22:28) . Peterson agreed that

Canter should be treated “equally,” so he agreed that Canter could come to the City

offices and review plans as well. (Audio Recording Time Code 23:05-23:22).

                    Peterson states:

                    I’ll tell you what I’m going to do. You want to pick a day
                    a week, you want to call us. Any plan that’s come in that
                    week, I’ll have them in this room sitting here waiting for
                    you to look at. Okay ? And if you want me to do the same
                    thing to Brad, I’ll do it for Brad. Brad can come to this
                    room and look at them        We’ll treat everybody equally.

                     (Audio Recording Time Code 20:05-20:22) .

Peterson reiterated this twice more. (Audio Recording Time Codes 1:11:00-1:11-

                    -
50, 1:26:00 1:26:40). It will be remembered, of course, that Briggs had already

offered this arrangement to Canter four months earlier. (R. 106-3, Pg ID 914 915,     -
Briggs Email, 11/28/28 @ 3:37 p.m.).

               Despite the frequent emails of which Canter had been a recipient, and despite

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the special meeting itself, Canter accused Peterson and the City of not “engaging”

with her. (Audio Recording Time Code 51:43-51:55) . Manifestly Peterson and

the City had. “engaged” with Canter - - repeatedly.

             But engagement is not really the issue. Rather, Canter’s position is that the

City must agree with her that the Heritage Square Commons does not satisfy the

60% “accessible” entrances requirement of the 2010 ADA standards ( the result

Canter wants ). Canter insists that any contrary position must necessarily be

“retaliation” against her advocacy in violation of her rights.
             As Canter stated, the fact that the City does not agree with her means that

“there’s obviously something else going on here.” (Audio Recording Time Code

             -
56:50 57:01). In Canter’s mind, this “something else” is the supposed “conspiracy ”

to “retaliate.”

             Canter also made clear her objection to the involvement of the DNWM and

Hastings altogether, stating that “they don’t speak for us.” (Audio Recording Time

Code 11:46-11:50) . Canter doubled down on her accusation that Hastings “wet his

pants” and “sold out” the disabled. (Audio Recording Time Code 1:21:14                   -
1:22:06). Peterson pointed out that it is “difficult to engage” with Canter given such

manner of discourse. Id . Yet, despite remaining committed to the interpretation of

Briggs and Hastings that the “60%” requirement of the 2010 ADA standards is

satisfied at the HSC, Peterson otherwise agreed to accommodate the demands stated


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by Canter at the meeting.

                Again, there is no evidence in the record that Canter ever took advantage of

the City ’s repeated offers for her to review plans or meet with Briggs. But the

DNWM, through Hastings, took steps to fulfill the goals emphasized by Fleser - -

i.e., “to work with communities to educate them on their responsibilities” and “to

work upstream to ensure [accessibility] considerations are at the forefront of plans

and concept development.” (R. 103-8, Pg ID 678-679, Fleser Email, 3/5/19 @ 4:04

p.m.) .

             Hastings made a presentation to a work session of the City Commission

“ regarding a proposed cooperation agreement,” whereby DNWM would “help the

City and its customers to meet the minimum requirements of the Construction Coded

and the ADA . .. aimed at increasing the inclusiveness and accessibility of our built

environment and realizing the ultimate vision of access for all, regardless of ability.”

(R. 111-4, Pg ID 1333, City Commission Work Session Minutes, 8/12/19) . An

agreement to that purpose was approved by the City Commission on August 27,

2019. (R. 111-4, Pg ID 1329-1330, City Commission Meeting Minutes, 8/27/19) .

The agreement called for a payment to DNWM of $7,500.00 for these services. (R.

111-4, Pg ID 1330, City Commission Minutes, 8/27/19) .

                Canter was enraged. In a FOIA request, Canter accused that:

                      Disability Network West Michigan is a criminal
                      enterprise that is speaking on behalf of the disability

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                community without authorization, expertise, or authority.
                They are selling falsified access reviews for cash
                payments. That’s not how we do things in the disability
                community. I am very dismayed to learn that the city is
                financing their illegal activity with taxpayer dollars. It
                sounds like no one even knows the scope of work of this
                contract or the expected outcomes. This looks a lot like a
                payoff to avoid the city' s responsibilities under the law in
                exchange for a promise not to report violations (I assume,
                because that’s the deal DNWM makes with local
                business).

                 This is outrageous. This is bordering on serious
                 corruption.

                 (R. 103-14, Pg ID 698, Canter Email, 8/27/19 @ 9:12
                 p.m., emphasis added)  .
Then, six weeks later, Canter sent a letter to the FBI with the accusation that:

                 I believe that Disability Network West Michigan
                 (hereafter DNWM), a federally-funded Center for
                 Independent Living, is engaged in a criminal enterprise
                 and conspiracy to cover up violations of the ADA,
                 Rehabilitation Act, and Michigan Building Code. . . .
                 [T]he organized effort to cover-up violations of state and
                 federal law, as well as the potential for bribery of a City
                 contractor should warrant the FBI’s attention.



                 The Quid Pro Quo

                 Disability Network West Michigan helps entities find a
                 way to avoid their responsibilities under the law. In return,
                 they get paid by the entities that benefit from the crime:
                 local governments, local business owners, and contractors.

                         -
                 (R. 111 13, Pg ID 1389, 1392, Canter Letter to FBI,
                 10/16/19, pp. 1, 4).

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She accused the City of “[pjaying DNWM not to report violations” (in apparent

                                                       -
reference to the $7,500.00 payment). (R. 111 13, Pg ID 1392-1393, Canter Letter

to FBI, 10/16/19, pp. 4-5).

             By this time, the DNWM had had enough of Canter’s accusations. Concerned

for the detriment such accusations posed for the DNWM and its ability to serve the

disabled community, the DNWM chose filed a defamation suit against Canter in

state court. (R. 103-7, Pg ID 674, Fleser Declaration, IT 8; R. 103-13, Pg ID 695,

Fleser Affidavit, IT 5; R. 103-17, Pg ID 715-722, DNWM Defamation

Complaint) . The state court denied both parties’ motions for summary disposition.

But the court agreed that, if a jury believed Canter’s accusations to be false, those

accusations would constitute defamation. (R. 103-18, Pg ID 739-747, State Court

Opinion Denying Cross Motions for Summary Disposition; R. 103-19, Pg ID

749-751, State Court Opinion Denying Reconsideration) . Nevertheless, the

DNWM leadership decided to voluntarily dismiss the case and focus upon serving

its clientele rather than spend more money fighting Canter. (R. 103-7, Pg ID 675,

Fleser Declaration).

                In her Complaint, Canter attributed to Peterson and the City several adverse

actions that she claims manifest the supposed conspiracy to retaliate against her. In
                                                                                  4




4
  These were vague allegations that the City removed Canter from a “committee,”
singled Canter out for “disparate treatment” of FOIA requests, and excluded Canter

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her brief to this Court, however, Canter focuses entirely upon her accusation that the

City and Peterson encouraged and funded what Canter calls the “collaborative sham

litigation” - - i.e., the defamation lawsuit - - by the DNWM. (Appellant Canter’s

Brief, pp. 36, 51-54, and particularly 62-64).5

             Specifically, Canter cites the minutes of an April 3, 2019, meeting of the

DNWM Board of Directors at which a motion was passed to contact the DNWM’s

own attorney about a “cease & desist” (and a summons) and to “[cjonnect with City

of Muskegon attorney.” (R. 115-35, Pg ID 1701, DNWM Board of Directors

Meeting Minutes, 4/3/19). But there is no reference to Canter in this motion or

anywhere else in the minutes.

             Moreover, this DNWM motion was passed at a meeting five months before

the DNWM attorney sent a retraction letter to Canter and six months before the

DNWM defamation suit against Canter was filed. There is no temporal association.

             With no actual evidence, Canter speculates that “I don’t think that Disability



from “civic engagement.” (R. 1, Pg ID 22, 27, 1HT 89-90, 123). Canter abandoned
these matters in the district court, by failing to develop them in her response to the
City’s and Peterson’s motion for summary judgment - - in opposition to which
Canter did no more than mention a request to attend committee meetings by
“telephone,” which the City attorney determined would violate Michigan’s Open
Meetings Act. (R. Ill, Pg ID 1238, Canter Response Brief, p. 8; R. 109-7, Pg Id
1142, Bailey Email, 7/16/19 @1:32 p.m.) .
5 This is consistent with Canter s Complaint, which pleaded specific allegations of
                                 ’
fact only with regard to what she labeled the “Strategic Retaliatory State Court
Litigation.” (R. 1, Pg ID 24-26, Complaint, HIT 98-115).

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Network West Michigan could have initiated this lawsuit, and then take it as far as

they did, without encouragement and support from pretty powerful players.” (R.

109-1, Pg ID 992, Canter Dep., 8/5/21, p. 78) . She conjectures that the purpose of

the August 27, 2019, agreement between the City and the DNWM was to provide

funding for the lawsuit through the $7,500.00 payment. (Appellant Canter’s Brief,

             -
pp. 62 63). She testified that “I think it is very obvious from the emails that the

                                                                        . -
money from that contract was used to fund this lawsuit.” (R 109 2, Pg ID 1025,

Canter Dep., 8/11/21, p. 25).

             But the lawsuit is not mentioned in any email on the record. Canter’s counsel

openly admitted on the record that ‘7 have no direct e-mail about litigation.” (R        .
140, Pg ID 2879, Motion Hearing Transcript, 9/22/22, p. 25).

             And Canter admitted at deposition that she never obtained any document

showing how the DNWM funded the lawsuit. (R. 109-1, Pg ID 993, Canter Dep.,

8/5/21, p. 82). She conceded that how the DNWM paid for the defamation lawsuit

remains an “open question.” (R. 109-2, Pg ID 1024, Canter Dep., 8/11/21, p. 24) .

             In short, Canter has no email, no documents and no testimony beyond her own

speculation that the City had any involvement in the DNWM’s defamation lawsuit.

                It should also be observed that Canter misrepresents the Defendants-

Appellees’ position regarding the entrances to the HSC. As revealed by the emails,

none of the parties’ disputes that the 2010 ADA standards require 60% of the HSC


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public entrances be accessible to the disabled. This was highlighted in Briggs’ email

of November 28, 2018. (R. 106-3, Pg ID 914-915, Briggs Email, 11/28/19 @ 3:37

p.m.). This has been the position of Hastings beginning with his first email on

November 30, 2018. (R. 115-5, Pg ID 1603, Hastings Email, 11/30/18 @ 9:46

a.m.; R. 111-1, Pg ID 1202, Hastings Email, 3/21/19 @ 4:04 p.m.) . Peterson, quite

reasonably, agreed with Briggs and Hastings as the individuals with expertise.

             Where the parties disagree is whether all of the five entrances by which the

Defendants make their 60% calculation constitute “public entrances .” (See R. 111-

1, Pg ID 1292, Hastings Email, 3/21/19 @ 4:04 p.m.) . Canter targets Hastings

supposed position that “locked doors count as accessible public entrances.” (R. 103-

3, Pg ID 632, Canter Dep., 9/18/20, pp. 97-98) .

             Of course, neither Hastings, nor Briggs, ever took the position that “locked

doors” are accessible public entrances. Briggs was specific from the start that the

accessible door providing access to Drip Drop Drink “should be left unlocked during

business hours. ” (R. 106-3, Pg ID 911, Briggs Email, 11/26/18 @ 4:38 p.m.) .

Hastings likewise emphasized that the accessible route “needs to be unlocked during

business hours.” (R. 115-11, Pg ID 1630, Hastings Email, 12/11/18 @ 4:53 p.m.).

Hastings later confirmed this with his sources at the Access Board. (R. 115-27, Pg

ID 1656, Hastings Email, 3/12/19 @ 3:19 p.m.) .

                Without citation to the record, Canter asserts that “[n]either Briggs or Peterson


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ever told Post that he could not keep those entrances locked.” (Appellant Canter’s

Brief, p. 61). This is demonstrably false. Briggs did tell Post. (R. 106-3, Pg ID 911,

Briggs Email, 11/26/18 at 4:38 p.m., R. 106-3, Pg ID 911, Briggs Email, 11/26/18

@ 4:54 p.m.; R. 115-9, Pg ID 1628, Briggs Email, 12/12/18 @ 2:52 p.m.) . With

Briggs having spoken, the City’s position was stated, without Peterson saying more.

             Manifestly, neither Briggs, nor Hastings, nor Peterson, nor the City, have ever

taken the position that “locked doors count as accessible public entrances.” Rather,

they have interpreted §206.4.7 of the 2010 ADA standards to meet that certain

entrances labeled by Canter as “restricted” are actually “public” for purposes of the

60% calculation (if, of course, they are kept unlocked, as Post repeatedly indicated

they would be). (R. 111-1, Pg ID 1292, Hastings Email, 3/21/19 @ 4:04 p.m.; R.

106-3, Pg ID 914-915, Briggs Email, 11/28/18 @ 3:37 p.m.; R. 111-1, Pg ID 1294-

1295, Peterson Email, 3/22/14, @ 2:43 p.m.) .

             Again, Briggs had stated this position on behalf of the City on November 26,

2018 - - two days before Hastings and Fleser even became involved. (R. 106-3, Pg

ID 911, Briggs Email, 11/26/18 @ 4:38 p.m.; R. 115-5, Pg ID 1603, Hastings

Email, 11/30/18 @ 9:46 a.m.; R. 115-12, Pg ID 1632, Fleser Email, 12/5/18 @

8:51 a.m.). The City did not adopt that position as part of any “conspiracy.” The

City, through Briggs, had determined that interpretation of the 2010 ADA standards

on its own.


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             And this remains the City ’s position. When contacted by the Michigan

Bureau of Construction Codes in September 2019 following a complaint to that

agency by Canter, Briggs responded that:

                  Regarding the Heritage Square Commons that is one
                  building that contains a few businesses, this building was
                  designed with three of the five entrances as ADA
                  compliant. We are having a hard time keeping the owner
                  in compliance with the ADA as they lock doors and such.
                  We have sent a notice for them to respond in writing as to
                  how they are going to bring the building back into
                  compliance.

                   (R. 115-55, Pg ID 1850, Briggs Letter, 9/12/19) .

The position of the City has remained unchanged from the beginning. Manifestly,

the position taken by the City and Peterson does not arise from any retaliatory

“conspiracy.”

             It is the position of the City of Muskegon and Franklin Peterson that the

district court properly rejected Canter’s speculative and fanciful interpretation of the

record. The district court’s grant of summary judgment in favor of the City and

Peterson should be affirmed.




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                                 SUMMARY OF ARGUMENT

             Relying upon a conjectural interpretation of the emails, Canter contends that

her case must go to a jury, because the Defendants have not “foreclosed the

possibility ” that a jury might believe Canter’s “inferences” of conspiracy and

retaliation. (Appellant Canter’s Brief, pp. 30-32, 46) . With regard to Defendants-

Appellees Franklin Peterson and the City of Muskegon, Canter argues that the

emails, together with minutes from separate meetings of the City Commission and

the Co-Defendant Disability Network West Michigan, demonstrate conspiratorial

retaliation against Canter in the form of encouragement and funding of a defamation

lawsuit by the DNWM against Canter.

             As recognized by the district court, Canter’s claims necessarily fail, because

her “inferences” are mere speculative leaps that are not supported by her evidence.

K .V .G . Properties, Inc . v. Westfield Insurance Co., 900 F.3d 818, 823 (6th Cir.

2018). Canter mistakenly believes that the “motive” element of conspiracy and

retaliation lessens her evidentiary burden by requiring the Defendants-Appellees to

disprove her conjectures. But this is not true.

                The Defendants-Appellees are not required to negate the elements of Canter’s

claims. Lujan v. National Wildlife Federation , 497 U.S. 871, 885 (1990). Rather,

it remains the obligation of Canter to put forth actual evidence, beyond conjectural

inference, to support her conspiracy and retaliation allegations. Crawford-El v .


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Britton, 523 U.S. 574, 600 (1998). “[Speculation is insufficient to survive summary

judgment.” Doe v. City of Detroit, Michigan , 3 F.4th 294, 305 (6th Cir. 2021).

           What Canter identifies as “retaliation” is simply that the City and Peterson did

not agree to adopt Canter’s interpretation of the Americans with Disabilities Act

accessibility standards for the HSC building. But “[a] citizen’s right to petition the

government does not guarantee a response to the petition or the right to compel

government officials to act on or adopt a citizen’s views.” Apple v . Glenn , 183 F.3d

477, 479 (6th Cir. 1999). Where the substance of a retaliation claim is predicated

upon the refusal of a governmental agency or official to act on or adopt a citizen’s

views, the plaintiff’s claims are not even “plausible” and can be dismissed as

frivolous. Id ., at 479-80.

            Furthermore, even if Canter’s inferences were indulged as plausible, neither

Peterson nor the City can be held liable. Peterson has qualified immunity, (1)

because he reasonably relied upon interpretation of the ADA standards provided by

Briggs. Pearson v . Callahan , 555 U.S. 223, 231-232 (2009). The City cannot be

held liable, (1) because Canter has no evidence to show the existence of an

unconstitutional City “policy ” of retaliation and (2) because neither Peterson (nor

any other City official) is shown by the evidence to have deprived Canter of any

constitutional or statutory right. Vereecke v . Huron Valley School Dist ., 609 F.3d

392, 403-4 (6th Cir. 2010).


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                                           ARGUMENT

                     I.     THE STANDARD OF APPELLATE REVIEW
                            IS DE NOVO .

             Defendants-Appellees Franklin Peterson and City of Muskegon sought

summary judgment under Fed. R. Civ. P. 56.                       (R. 108, Pg ID 940-941,

Muskegon/Peterson Motion for Summary Judgment; R. 109, Pg ID 953-954,

                                           -
Muskegon/Peterson Brief, pp. 4 5, “Standard of Review”) - The district court

granted summary judgment as requested by the motion. (R. 140, Pg ID 2933,

Motion Hearing Transcript, 9/22/22, p. 79; R. 135, Pg ID 2761, Order; R. 136,

Pg ID 2762, Judgment) .

             A district court’s grant of summary judgment is reviewed de novo on appeal.

                .
Wiley v City of Columbus, Ohio, 36 F.4th 661, 667 (6th Cir. 2022). This Court

uses “the same rule 56(c) standard as the district court.” Moldowan v. City of

Warren , 578 F.3d 351, 373 (6th Cir. 2009). Summary judgment is properly granted

where “ there is no genuine issue as to any material fact and the movant is entitled to

judgment as a matter of law.” Fed. R. Civ. P. 56(a), Puskas v. Delaware County ,

Ohio , 56 F.4th 1088, 1093 (6th Cir. 2023).

                      II.   PLAINTIFF-APPELLANT CANTER BEARS
                            THE BURDEN OF PROOF FOR HER
                            “CONSPIRACY” ALLEGATIONS.

                Plaintiff -Appellant Canter asserts that “conspiracy” is “a question of fact.”

(Appellant Canter’s Brief, p. 29). Relying upon Adickes v. SJ1. Kress & Co., 398

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U.S. 144 (1970), Canter’s argument is that the Defendants-Appellees failed to carry

their supposed “burden” to “foreclose the possibility ” of a conspiracy. (Appellant

                                 -
Canter’s Brief, pp. 30 31, 32-33). Canter’s argument fails.

             First, after the Adickes decision, the Supreme Court clarified that:

                     “Rule 56 does not require the moving party to negate the
                     elements of the nonmoving party’s case; to the contrary,
                     regardless of whether the moving party accompanies its
                     summary judgment motion with affidavits, the motion
                     may, and should, be granted so long as whatever is before
                     the district court demonstrates that the standard for the
                     entry of summary judgment, as set forth in Rule 56(c), is
                     satisfied.”

                             .
                     Lujan v National Wildlife Federation , 497 U.S. 871, 885
                     (1990), emphasis added.

“Rule 56(c) mandates the entry of summary judgment . . . against a party who fails
to make a showing sufficient to establish the existence of an element essential to that

party’s case, and on which that party will bear the burden of proof at trial.” Id.

             It was not the obligation of the Defendants to negate the existence of the

“conspiracy” alleged by Canter. Rather, it was Canter’s obligation to present
evidence to support her allegation. The question is whether the evidentiary record

supports Canter’s “inference of conspiracy,” not whether the Defendants “foreclosed

the possibility ” of one.

                Second, Canter mistakenly believes that the “motive” element of a conspiracy

claim lessens her evidentiary burden at the summary judgment stage. (Appellant


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Canter’s Brief, pp. 43-45) . To the contrary, however, the Supreme Court has made

clear that “ the plaintiff may not respond simply with general attacks upon the

defendants’ credibility, but rather must identify affirmative evidence from which a

jury could find that the plaintiff has carried his or her burden of proving the pertinent

                                 .
motive.” Crawford-El v Britton , 523 U.S. 574, 600 (1998).

             Finally, “it is well established   . . . that a party   may not avoid summary

judgment by resorting to speculation, conjecture, or fantasy.” K .V .G . Properties,

Inc . v . Westfield Insurance Company , 900 F.3d 818, 823 (6th Cir. 2018). “Trials

exist to resolve concrete factual disputes, not to satiate the endless imagination of

trial lawyers.” Id . “[Speculation is insufficient to survive summary judgment.”

Doe v. City of Detroit, Michigan , 3 F.4th 294, 305 (6th Cir. 2021).

             In Canter’s mind, the “conspiracy ” is “obvious” from the emails described

above. (R. 109-1, Pg ID 995-6, 998, Canter Dep., 8/5/21, pp. 92-93, 101, 104) .

Neither the emails, nor the other evidence upon which Canter relies, raise any

“inference of conspiracy ” at all.

                      ID. THE EVIDENTIARY RECORD DOES NOT
                          SUPPORT   ANY    “INFERENCE  OF
                          CONSPIRACY.”

                Canter did not plead “conspiracy ” as an independent theory of liability in her

Complaint. Rather, she relies upon her allegation of conspiracy to render each

Defendant jointly liable for the supposed conspiratorial actions of the others. See



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Beck v. Prupis, 529 U.S. 494, 503 (2000).

              In any context, a plaintiff claiming damage from a conspiracy must

demonstrate (1) that a single plan existed, (2) that the alleged conspirators shared a

conspiratorial objective to deprive the plaintiff of their constitutional rights, and (3)

that an overt act was committed in furtherance of the conspiracy that caused the

injury. Robertson v. Lucas, 753 F.3d 606, 622 (6th Cir. 2014). But a conspiracy is

not shown, where the alleged conduct of the defendants “is just as consistent with

independent conduct as it with a conspiracy.” Hensley v. Gassman , 693 F.3d 681,

695 (6th Cir. 2012).

              There is no evidence that the City or Peterson conspired to encourage, assist

or fund the DNWM defamation lawsuit against Canter. There is no evidence that

the DNWM needed any financial assistance from the City of Muskegon or that the

$7,500.00 payment under their agreement had been intended (or directed) for that

purpose.

              Moreover, the filing of the lawsuit by the DNWM is just as consistent with

nonconspiratorial, independent action by the DNWM as with any supposed

conspiracy. Canter had repeatedly accused the DNWM, Hastings and Fleser of

 illegal and criminal actions. Such accusations of criminality are defamation per se

 under Michigan law. TT v. KL, 334 Mich. App. 413, 444, 965 N.W.2d 101, 117

                         .
 (2020), Burden v Elias Brothers Big Boy Restaurants, 240 Mich. App. 723, 727-


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8, 613 N.W.2d 378, 381 (2000), Armstrong v . Shirvell , 596 Fed. Appx. 433, 448-9

(6th Cir. 2015).

            Given the potential damage of such accusations to its own reputation and

advocacy, the DNWM needed no encouragement to sue Canter. The DNWM’s

action in doing so is completely consistent with action independent of any supposed

“conspiracy ”       .
            Canter references the minutes of the April 2019 meeting of the DNWM Board

and the a motion to contact City attorneys regarding some “cease and desist” and

“summons”. (Appellant Canter’s Brief, pp. 52-3, 63, referencing R. 115-35, Pg

ID 1701, DNWM Board of Directors Meeting Minutes, 4/3/19) . But those

meeting minutes make no reference to Canter. Nor is there any evidence that any

representative of the DNWM ever contacted City attorneys regarding whatever the

referenced minute entry was about.

            Moreover, this DNWM Board Meeting took place six months before the

DNWM filed its defamation action against Canter. Canter cannot rely on any

“ temporal proximity ” argument to tie the DNWM minutes to the DNWM

defamation lawsuit.

               With regard to the underlying dispute between Canter and the City, Canter

claims that the emails make the conspiracy “obvious.”             In reality, the emails do

 precisely the opposite.


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            The emails show that the City, through Briggs (as its contracted building

official), was aware of the 2010 ADA 60% accessible entrances standard, before any

documented involvement by the DNWM, Fleser or Hastings. Certainly, Hastings

came to the same interpretation as Briggs. But neither Briggs (nor Peterson and the

City ) needed to conspire with Hastings to come to that interpretation. On the

evidentiary record, Briggs came to the conclusion first.

            Moreover, Briggs’ correspondence to the Michigan Bureau of Construction

Codes in September 2019, demonstrated that the City agreed with Canter that the

HSC not compliant, as long as there was an issue with doors being locked. (R. 115-

55, Pg ID 1850, Briggs Letter, 9/12/19). The City, through Briggs, thus supported

the position stated by Canter in her deposition. (R. 109-2, Pg ID 1050-1051, Canter

Dep., 8/11/21, pp. 50-51; R. 103-3, Pg ID 632-633, Canter Dep., 9/18/20, pp. 100-

101) . This had been the City’s position from the start to the present. (R. 106-3, Pg

ID 911, Briggs Email, 11/26/18 @ 4:38 p.m.; R. 115-55, Pg ID 1850, Briggs

Letter, 9/12/19).

               Obviously, Canter disagrees with the City ’s interpretation of the ADA “60%”

requirement. But Canter has no evidence to support any “inference” that the City

reached its position, or denied Canter her desired “result” (or played any role in the

DNWM lawsuit) as part of any “conspiracy ” with the other Defendants-Appellees.




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                     IV.    THE EVIDENTIARY RECORD DOES NOT
                            SUPPORT     ANY     FINDING    OF
                            “RETALIATION”     BY     FRANKLIN
                            PETERSON OR THE CITY OF MUSKEGON.

             As Canter herself acknowledges, “[Retaliation claims arise in any number of

contexts . . but the essential framework remains the same.” Thaddeus-X v . Blatter ,

175 F.3d 378, 386-7 (6th Cir. 1999). “A retaliation claim essentially entails three

elements: (1) the plaintiff engaged in protected conduct; (2) an adverse action was

taken against the plaintiff that would deter a person of ordinary firmness from

continuing to engage in that conduct; and (3) there is a causal connection between

elements 1 and 2 - - that is, the adverse action was motivated at least in part by the

plaintiffs protected conduct.” Id ., at 394.

             There is no dispute that the right to petition government agencies and officials

for redress of claimed grievances is protected by the First Amendment. U.S. Const.

amend. I. For matters within their purview, the Americans with Disabilities Act and

Rehabilitation Act protect submission of grievances as well. 42 U.S.C. §12203(a),

29 C.F.R. §33.13.

                But Canter’s claims fail with regard to the second two elements of a retaliation

claim. Canter has no evidence to show any adverse action by Peterson or the City

that was causally connected to Canter’s complaints regarding accessibility at the

HSC.



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                          A. Canter has no evidence to support the
                          “adverse action” element of her claim.

             For purposes of a retaliation claim an “adverse action” is an action that “would

chill or silence a person of ordinary firmness” from pursuing their petitions to the

government. Thaddeus-X , 175 F.3d at 33. “This standard is amenable to all

retaliation claims.” Id .

             Of particular relevance for the present case, however, “[a] citizen’s right to

petition the government does not guarantee a response to the petition or the right to

compel government officials to act on or adopt a citizen’s views.” Apple v. Glenn ,

183 F.3d 477, 479 (6th Cir. 1999). Indeed, where the substance of a retaliation claim

is predicated upon the refusal of a government agency or official to act on or adopt

a citizen’s views, the plaintiff’s claim is not even “plausible” and can be dismissed

as frivolous. Id ., at 479-80.

             Canter’s complaint recited a number of vaguely defined instances of supposed

adverse actions toward her by the City of Muskegon and Peterson. In her brief to

this court, however, Canter’s discussion of “adverse action” by the City and Peterson

focuses entirely upon the supposed encouragement and funding of the DNWM

defamation lawsuit. (Appellant Canter’s Brief, pp. 52, 63-4) . Canter has

abandoned any issue or argument with regard to any supposed “adverse action” apart




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from the DNWM lawsuit. US . v . Johnson , 440 F.3d 832, 845-6 (6th Cir. 2006).6

             As described above, Canter has no evidence that the City or Peterson were

ever aware of or involved in the DNWM lawsuit at all, much less that they

encouraged or funded it. Canter’s argument is nothing more than “speculation,

conjecture or fantasy ” that cannot defeat summary judgment in favor of the City and

Peterson. K .V .G . Properties, Inc ., 900 F.3d at 823.

             Apart from the speculative allegation of involvement by the City and Peterson

in the defamation lawsuit, Canter’s retaliation claim boils down to the mere fact that

Peterson and the City have not agreed with her interpretation of the 2010 ADA

standards for accessible entrances as they apply to the HSC. Canter ultimately

defines the supposed “adverse action” as the Defendant adopting a contrary position

that “effectively closed down all avenues whereby the underlying issue could be

addressed,” - - i.e., whereby Canter would get her desired result. (Canter Appellant

Brief, p. 44) . But, even if true, this is not an “adverse action.”

                Canter has no right to compel Peterson or the City “to act on or adopt” her


6
 In their summary judgment motion, the City of Muskegon and Peterson confronted
Canter’s vague allegations regarding a “committee,” “civic engagement” and
Freedom of Information Act requests. (R. 109, Pg ID 950-951, 961-963,
City/Peterson Motion for Summary Judgment, pp. 1-2, 12-14) . In response,
Canter mentioned only that accommodation had been denied by reference to the
Open Meetings Act, and she offered no argument on the point at all. (R. Ill, Pg ID
1238, Canter Response, p. 8) . She thus abandoned other claims of “adverse action”
in the court below.


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interpretation. Apple ,183 F.3d at 479-80. Therefore, refusal by the City and Peterson

to do so does not constitute an adverse action for purposes of a retaliation claim.

            Moreover, Canter’s own testimony undermines her claim. As she testified at

deposition, “I’m still allowed to speak” and “I’m still doing advocacy right now.”

                 -
(R. 109 2, Pg ID 1058, Canter Dep., 8/11/21, p. 58) . Her advocacy has not been

“chilled.” And the evidentiary record shows that Peterson and the City have always

been willing to hear her advocacy.

                                B. Canter has no evidence to support the
                                “causal connection” element of her claim.

             Even if this Court were persuaded that Canter has presented evidence of an

“adverse action” by the City and/or Peterson, her retaliation still fails. “To prevail

on such a claim, a plaintiff must establish a causal connection between the

government defendants retaliatory animus and the plaintiff’s subsequent injury.”

Nieves v Bartlett,   .              U.S.      139 S. Ct. 1715, 1722 (2019), internal quotes

omitted. Canter cannot show the requisite causal connection.

                 Canter highlights that a retaliatory motive need not be the sole motivating

factor for any adverse action. (Appellant Canter Brief, p. 45) . But she ignores the

 requirement that retaliatory motivation must be the “but for” cause of the allegedly

adverse action. Nieves, 139 S. Ct. at 1722. Lewis v. Humboldt Acquisition Corp.            ,
                                                         .. .                   .
 Inc , 681 F.3d 312, 321 (6th Cir. 2012), EJE O C. v Ford Motor Co , 782 F.3d 753,
        .
767 (6th Cir. 2015). “It is not enough to show that an official acted with a retaliatory

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motive and that the plaintiff was injured.” Nieves,139 S. Ct. at 1722. Rather, Canter

must show that the alleged adverse action “would not have been taken absent the

retaliatory motive.” Id.

            Although Peterson and the City disagreed with the result demanded by Canter,

this resulted from the City’s independent interpretation of the ADA requirements as

determined by Briggs. That interpretation , not “ retaliation,” is the cause for the

denial of Canter’s desired result.

            Even if Canter had evidence of some “adverse action,” the City and Peterson

would nevertheless be “entitled to prevail on summary judgment,” upon showing

that they “would have taken the same action in the absence of [Canter’s] protected

                            -
activity.” Thaddeus X , 175 F.3d at 399. This is a necessary second step in causation

                                               .                        .
analysis. Mt. Healthy City School Dist Bd. of Education v Doyle , 429 U.S. 274,

287 (1997). Demonstrably, the City and Peterson would have taken the same actions

of denying Canter her desired result because of their interpretation of the ADA,

wholly apart from Canter’s advocacy or any retaliatory animus toward it.

            Moreover, the record fails to show any retaliatory animus toward Canter’s

advocacy at all. The special meeting to hear Canter’s grievances, and the offers from

both Briggs and Peterson for Canter to review and comment upon plans submitted

 to the City, shows a continued willingness to engage with Canter’s advocacy.

               Completely ignoring the analytical context, Canter cites Reeves v. Sanderson


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Plumbing Products, Inc ., 530 U.S. 133 (2000), to contend that she’s entitled to put

her case before a jury to see whether or not they believe the Defendants’ denial of a

retaliatory motive. (Appellant Canter’s Brief, p. 46) . But the language quoted by

Canter from Reeves deals with the third step of the burden-shifting framework

established by McDonnell Douglas Corp . v . Green , 411 U.S. 792 (1973) for

discrimination cases. Under that framework, a plaintiff must establish a prima facie

case of discrimination, following which the defendant can produce evidence of a

nondiscriminatory motive for its actions. Reeves , 530 U.S. at 142-3. This is

followed by the third step in which the plaintiff is afforded the opportunity to “prove

by a preponderance of the evidence that the legitimate reasons offered by the

defendant were not its true reasons, but were a pretext for discrimination.” Id ., at

143.

            With regard to alleged First Amendment retaliation, Reeves is irrelevant,

because the McDonnell Douglas framework does not apply. Dye v . Office of

Racing Commission , 702 F.3d 286, 294-5 (6th Cir. 2012). More importantly, even

in the ADA (or Rehabilitation Act) context, where McDonnell Douglas burden-

shifting could apply, Canter’s case still fails, because her evidence neither supports

a prima facie case of retaliation, nor any allegation of pretext.

                “A jury verdict based on speculation, supposition, or surmise is

impermissible.” Pittington v . Great Smoky Mountain Lumberjack Feud, LLC , 880


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F.3d 791, 801 (6th Cir. 2018). But that is precisely what Canter wants a jury to do

in her case.

           Canter’s claim of “retaliation” fails, because her “evidence” fails to show any

adverse action causally connected to her advocacy. The grant of summary judgment

to the City and Peterson should be affirmed.

                     V.     FRANKLIN PETERSON IS ENTITLED TO
                            QUALIFIED    IMMUNITY    AGAINST
                            CANTER’S CLAIMS.

            “The doctrine of qualified immunity protects government officials from

liability for civil damages insofar as their conduct does not violate clearly established

statutory or constitutional rights of which a reasonable person would have known.”

Pearson v . Callahan , 555 U.S. 223, 231 (2009). The issue of an official’s qualified

immunity invokes a two-pronged inquiry. On the one hand, “a court must decide

whether the facts that the plaintiff has alleged or shown make up a violation of a

constitutional right.” Id ., at 232. On the other hand, “ the court must decide whether

the right at issue was ‘clearly established’ at the time of the defendant’s alleged

misconduct.” Id . “A plaintiff must satisfy both inquiries in order to defeat the

assertion of qualified immunity.” Sumpter v. Wayne County , 868 F.3d 473, 480

(6th Cir. 2017).

                In the qualified immunity context, a right is “clearly established” only where

 the existing case law precedents demonstrate the existence of the right to be “beyond


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dispute,” such that “every reasonable officer would have understood that what he is

doing violates that right.” Mullenix v. Luna , 577 U.S. 7, 11 (2015). Moreover,

qualified immunity “covers mistakes in judgment, whether the mistake is one of fact

or one of law.” Pearson , 555 U.S. at 231.

             Franklin Peterson is the City Manager, not a building official. He has not

claimed any expertise with regard to building codes or the ADA in this case.

             Instead, the City contracted for the services of Kirk Briggs as the City’s

building official. Briggs determined the HSC to be compliant with the 2010 ADA

standards, particularly the 60% accessible entrances requirement. His opinion was

bolstered by contact with state-level officials and by Hastings (supported by the

federal officials he consulted).

             Whether or not Briggs, Hastings and the state and federal officials they

consulted are correct, it was reasonable for Peterson to accept their conclusions on

the matter. There is no case law requiring an administrative or executive official to

second-guess the technical opinions of those hired by their agencies for their

expertise.

                As a consequence, Peterson has qualified immunity for acting in accordance

with the conclusions of Briggs as the City’s contracted building official. Even if

Peterson was mistaken as a matter of fact or law in this regard, he is covered by

immunity. Pearson , 555 U.S. at 231.


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                     VI.   THERE IS NO BASIS FOR MUNICIPAL
                           LIABILITY ON THE PART OF THE CITY OF
                           MUSKEGON.

             A municipal entity cannot be held liable under a theory of respondeat superior

for the actions of its officials. Monell v. Dept of Social Services of City of New

York , 436 U.S. 658, 691 (1978). Rather, Canter must show that the City of

                                                     .
Muskegon itself is the wrongdoer. Vereecke v Huron Valley School Dist., 609 F.3d

392, 403 (6th Cir. 2010). To hold the City liable, Canter must (1) identify a

retaliatory policy or custom, (2) connect that policy to the city, and (3) show that her

injury was caused by execution of that policy. Id .

             In the present case, Canter has not shown any policy of the City. Rather, she

claims that Franklin Peterson, as City Manager, joined in a conspiracy to retaliate

against her advocacy.

                But where a municipality’s liability “is alleged on the basis of the

unconstitutional actions of its employees, it is necessary to show that the employees

inflicted a constitutional harm.” Range v. Douglas, 763 F.3d 573, 592 (6th Cir.

2014). If the municipal employee did not engage in unconstitutional action, the City

cannot be liable. Id , Vereecke , 609 F.3d at 404, Tucker v. City of Richmond,
                             .
Kentucky , 388 F.3d 216, 224 (6th Cir. 2004).

                In this case, there is no evidentiary support for Canter’s allegations of

conspiracy and retaliation by Peterson. Therefore, whether Peterson’s actions are


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viewed as those of an individual government employee or as the product of some

City policy, there is no basis for municipal liability. No constitutional tort has

occurred.

                      VII. THE DISTRICT COURT CORRECTLY
                           DISMISSED    CANTER’S     STATE-LAW
                           CLAIM UNDER MICHIGAN’S PERSONS
                           WITH DISABILITIES CIVIL RIGHTS ACT.

              There is no basis for Canter’s argument that the dismissal of her PWDCRA

claim should be reversed. The district court properly granted summary judgment

against Canter’s federal claims. Once a federal court has dismissed a plaintiff ’s

federal-law claims, the court “should not ordinarily reach the plaintiff ’s state-law

claims.” Moon v . Harrison Piping Supply , 465 F.3d 719, 728 (6th Cir. 2006),

Winkler v Madison County , 893 F.3d 877, 905 (6th Cir. 2018), Burnett v. Griffith ,
                 .
33 F.4th 907, 915 (6th Cir. 2022).

                      VIII. THERE IS NO BASIS FOR AN ADA
                            COMPLIANCE CLAIM AGAINST THE CITY
                            OF MUSKEGON OR PETERSON.

              Canter’s argument regarding “actual ADA compliance” is vague and tied to

                                                              .
her mistaken conceptualization of her burden of proof (Appellant Canter’s Brief,

pp. 59-60). Canter has the option to press a compliance claim against Post and /or

the HSC. Indeed, Hastings ( defying the notion of any conspiracy among the

Defendants) specifically reminded Canter that she could do so - - i.e., “P.S. If you

 think they are violating the ADA, please note that you can file a complaint against a

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title III entity with the United States Department of Justice.” (R. 115 24, Pg ID

1649, Hastings Email, 3/5/19 @ 4:18 p.m.).

             But the Heritage Square Commons is not owned by the City or Peterson. As

Canter herself admits, the City of Muskegon and its municipal officials “are not

                                                        .    -
responsible for enforcement of the ADA.” (R 109 1, Pg ID 997, Canter Dep.,

                .
8/5/21, p 100). The enforcing agency is the federal Department of Justice. Spector

v . Norwegian Cruise Line, Ltd ., 545 U.S. 119, 161 (2005).

             If there is an ADA compliance issue at the HSC (e.g., locked doors or too few

accessible entrances), Canter’s recourse is against the building owners and/or the

tenants. Her recourse is not against the City and Peterson.




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                      CONCLUSION AND RELIEF REQUESTED

            For the reasons described above, Canter’s claims against Franklin Peterson

and the City of Muskegon are based upon nothing but conjecture mixed with outright

fantasy. The district court’s grant of summary judgment to the City of Muskegon

and Franklin Peterson should be affirmed.

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Dated: March 23, 2023




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                                CERTIFICATE OF COMPLIANCE

      Pursuant to the 6th Cir. R. 32(a)(7)(c), the undersigned certifies this brief
 complies with the type-volume limitations of 6th Cir. R. 32(1)(7)(B).

                1. Exclusive of the exempted portions in 6th Cir. R. 32(a)(7)(B)(iii), the brief
                   contains:

                   A. 12,360 words.

                2. The brief has been prepared:

                   B. in proportionally spaced typeface using: “New Times roman” in font
                      size 14.

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 Dated: March 23, 2023


                                   CERTIFICATE OF SERVICE

I hereby certify that on March 23, 2023, 1 electronically filed the foregoing document
with the Clerk of the Court using the ECF system which will send notification of
such filing to the following: All Attorneys of Record; and I hereby certify that I
have mailed by United States Postal Service the document to the following non-ECF
participants: N/A.

                                         s/Marie E. Jones
                                         Legal Assistant
                                         Cummings, McClorey, Davis & Acho, P.L.C.


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                          RECORD APPENDIX MAKING
                         DESIGNATION OF DOCUMENTS

Record Entry No./Page ID           Description


R. 1, Pg ID 1-30                   Complaint

R. 103-2, Pg ID 603-606            Diane Fleser Affidavit, 11/13/20

R. 103-3, Pg ID 607-639            Eleanor Canter Deposition, 9/18/20


R. 103-4, Pg ID 640-658            Eleanor Canter Deposition, 9/22/20

R. 103-5, Pg ID 659-665            DNWM Blog Post Advertisement

R. 103-6, Pg ID 666-671            Brad Hastings Affidavit

R. 103-7, Pg ID 672-676            Diane Fleser Declaration

R. 103-8, Pg ID 677-680            Emails

R. 103-13, Pg ID 693-696           Diane Fleser Affidavit, 3/9/20

R. 103-14, Pg ID 697-698           Canter FOIA Email

R. 103-16, Pg ID 710-711           Email

R. 103-17, Pg ID 712-737           DNWM State Court Defamation Complaint, with
                                   Exhibits

R. 103-18, Pg ID 738-747           State Court Opinion Denying Cross Motions

R. 103-19, Pg ID 748-751           State Court Opinion Denying Reconsideration

R. 106-2, Pg ID 877-909            City/SAFEBuilt Contract

R. 106-3, Pg ID 910-927            Emails

R. 106-4, Pg ID 928-930            Kirk Briggs Declaration

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Record Entry No./Page ID           Description

R. 108, Pg IS 940-941              City of Muskegon/Franklin Peterson Motion
                                   For Summary Judgment

R. 109, Pg ID 942-970              City of Muskegon/Franklin Peterson Brief in
                                   Support of Summary Judgment Motion

R. 109-1, Pg ID 971-999            Eleanor Canter Deposition, 8/5/21

R. 109-2, Pg ID 1000-1097          Eleanor Canter Deposition, 8/11/21

R. 109-13, Pg ID 1208-1213         Emails

R. 109-14, Pg ID 1214              Audio Recording of April 5, 2019 Meeting

  .
R 111-1, Pg ID 1251-1312           Emails

R. 111-4, Pg ID 1326-1333          City Commission Minutes, 8/12/19 and 8/27/19

R. 111-5, Pg ID 1334-1336          City of Muskegon/DNWM Agreement

R. 111-9, Pg ID 1345-1380          DNWM Amended State Court Complaint,
                                   With Exhibits

R. 111-13, Pg ID 1389-1433         Eleanor Canter Letter to FBI, 10/16/19,
                                   with Attachments

R. 115-1, Pg ID 1593-1596          Heritage Square Commons Photographs

R. 115-2, Pg ID 1597-1598          Heritage Square Commons Diagram

R. 115-5, Pg ID 1603 1604-         Email

R. 115-6, Pg ID 1605               Emails

R. 115-7, Pg ID 1622               Emails

R. 115-9, Pg ID 1628               Emails


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R. 115-10, Pg ID 1629              Emails

R. 115-11, Pg ID 1630-1631         Emails

R. 115-12, Pg ID 1632-1634         Emails

R. 115-16, Pg ID 1639              Email

R. 115-17, Pg ID 1640              Email

R. 115-18, Pg ID 1641              Email

R. 115-19, Pg ID 1642-1643         Emails

R. 115-20, Pg ID 1644              Emails

R. 115-21, Pg ID 1645              Emails

R. 115-24, Pg ID 1524-1650         Emails

R. 115-25, Pg ID 1651-1653         Emails

R. 115-27, Pg ID 1656-1658         Emails

R. 115-35, Pg ID 1700-1702         DNWM Board of Directors Minutes, 4/3/19

R. 115-55, Pg ID 1849-1850         Briggs Correspondence Exchange with
                                   Bureau of Construction Codes

R. 131, Pg ID 2753-2757            Joint Statement of Undisputed Facts

R. 135, Pg ID 2761                 Order

R. 136, Pg ID 2762                 Judgment

R. 140, Pg ID 2855-2974            Motion Hearing Transcript, 9/22/22




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